            Case 1:19-mj-05193-JGD Document 6 Filed 06/18/19 Page 1 of 8



                AFFIDAVIT OF SPECIAL AGENT JULIE FITZPATRICK
                    IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Julie A. FitzPatrick, being duly sworn, state as follows:

                    INTRODUCTION AND AGENT BACKGROUND

       1.        I am a Special Agent of the Internal Revenue Service Criminal Investigation

(“IRS-CI”) and have been so employed since 2005. I am currently assigned to the Securities Fraud

squad within the Boston Division of the Federal Bureau of Investigation (“FBI”). In that capacity,

my responsibilities include the investigation of federal offenses including, but not limited to, tax

fraud, money laundering, and other financial crimes. During my employment with IRS-CI, I have

conducted and/or assisted in criminal investigations involving tax fraud, money laundering,

violations of the Bank Secrecy Act, and other federal violations.

       2.        I am currently conducting an investigation of SHIVANI PATEL (“PATEL”) and

others for violations of certain federal laws, including: bank fraud, wire fraud, money laundering,

unlawful monetary transactions, and false statements in a federal tax return.

       3.        I make this affidavit in support of a criminal complaint charging PATEL with

bank fraud, in violation of 18 U.S.C. § 1344. Specifically, as set forth below, I have probable

cause to believe that PATEL engaged in a scheme and artifice to defraud and obtain money—to

wit, a $20,635.55 check sent to her then employer (“Company A”), a technology company based

in Waltham, Massachusetts, which was deposited into a bank account PATEL controlled on or

about March 3, 2017—that was in the custody and control of a domestic financial institution by

means of materially false and fraudulent pretenses and representations.

       4.        The facts in this affidavit come from my personal observations and review of

records, my training and experience, and information obtained from other agents and witnesses.

This affidavit is intended to show merely that there is probable cause for the requested warrants

                                                 1
            Case 1:19-mj-05193-JGD Document 6 Filed 06/18/19 Page 2 of 8



and does not set forth all of my knowledge about this matter.

               PROBABLE CAUSE TO BELIEVE THAT A FEDERAL
                    CRIME WAS COMMITTED BY PATEL

       5.        PATEL is currently a resident of Vineyard Haven, Massachusetts.

       6.        In or around May 2010, Company A hired PATEL to work as an executive

assistant to its chief financial officer. As part of her duties, PATEL was in charge of retrieving

incoming U.S. mail from Company A’s P.O. Box in Waltham, Massachusetts, including mail

containing customer checks made payable to Company A. PATEL and Company A’s CFO were

the only employees authorized to pick up Company A’s mail from the P.O. Box. After retrieving

the mail, PATEL was then responsible for recording customer checks into Company A’s payment

system and depositing customer checks into Company A’s bank account.

       7.        On or around February 2, 2012, a company with a name nearly identical to that

of Company A—to wit, Company A’s name with an “s” added to the end—was incorporated in

Massachusetts (“Sham Company A”). Sham Company A’s incorporation materials, as filed with

the Massachusetts Secretary of State, named PATEL as Sham Company A’s president, treasurer,

secretary, and sole director. In addition, these materials also listed Sham Company A’s “principal

office” as PATEL’s residence at the time in Hudson, Massachusetts.

       8.        Thereafter, on or about February 23, 2012, PATEL opened a business checking

account ending in -7941 in the name of Sham Company A (“PATEL 7941”) at St. Mary’s Credit

Union in Marlborough, Massachusetts—a financial institution as defined in Title 18, United States

Code, Section 20—that listed PATEL as the sole authorized signatory.




                                                2
            Case 1:19-mj-05193-JGD Document 6 Filed 06/18/19 Page 3 of 8



                                  Overview of PATEL’s Scheme

       9.        From at least in or about February 2012 through in or about July 2017,

PATEL stole over $3 million from her employer by diverting customer checks made payable

to Company A, and fraudulently depositing them into PATEL 7941 by misrepresenting Sham

Company A as an appropriate payee. A review of Sham Company A bank records revealed

that approximately 98 checks made payable to Company A were deposited into PATEL 7941

during this scheme. These checks totaled approximately $3,076,369.88.

       10.       PATEL used her position at Company A to implement this scheme. Since

at least 2011, PATEL was responsible for collecting customer checks from Company A’s

incoming mail at a P.O. Box, processing customer payments, and depositing these customer

checks into Company A’s bank account. As part of her job, after retrieving the checks from

the mail, PATEL was supposed to credit the customer account in Company A’s billing

system. However, in an effort to conceal her scheme, PATEL created false entries in Company

A’s billing system associated with the checks that she stole to make it appear as if Company A

had been paid by its customers.

       11.       Between February 23, 2017 and May 11, 2017, for example, a customer of

Company A located in Miami Beach, Florida (“Customer A”) mailed four checks—totaling

$82,339.77—to Company A’s P.O. Box in Waltham, Massachusetts. Each check was drawn upon

Customer A’s bank account at Centennial Bank, a financial institution as defined in Title 18,

United States Code, Section 20.

       12.       After retrieving the checks from Company A’s mail, on or about the date

reflected below, PATEL created the entries into Company A’s billing system to make it appear as

if Customer A’s invoices had been paid:



                                              3
          Case 1:19-mj-05193-JGD Document 6 Filed 06/18/19 Page 4 of 8



                 Added                                                        Linked Invoice
  Customer                  Method     Info        Date         Amount
                   By                                                         Unpaid Amount
 Customer A      PATEL      Check      1012    03/02/2017      $20,635.55         $0.00
 Customer A      PATEL      Check      1017    03/16/2017      $20,681.27         $0.00
 Customer A      PATEL      Check      1035    04/22/2017      $20,477.20         $0.00
 Customer A      PATEL      Check      1046    05/16/2017      $20,545.75         $0.00

       13.       However, while Customer A sent the above checks to Company A, none of

these checks were deposited into Company A’s bank account. Rather, by fraudulently

misrepresenting Sham Company A to be the appropriate payee for the Customer A checks

made payable to Company A, PATEL was able to deposit each check into Sham Company

A’s bank account at St. Mary’s Credit Union. Thereafter, Centennial Bank made the

payments for each of the four checks, and the funds were deposited in Sham Company A’s

bank account. The following chart, which is based on bank statements from St. Mary Credit

Union and cancelled checks from Centennial Bank, summarizes when the payments

associated with Customer A’s checks were deposited into PATEL 7941:

                 Check                                       Payment Deposited
                               Check Date       Amount
                Number                                        Into PATEL 7941
                  1012         02/23/2017     $20,635.55         03/03/2017
                  1017         03/09/2017     $20,681.27         03/17/2017
                  1035         04/13/2017     $20,477.20         04/24/2017
                  1046         05/11/2017     $20,545.75         05/16/2017

       14.       On or about March 15, 2018, Company A’s CFO was interviewed by agents

conducting this investigation regarding the above payments from Customer A.           The CFO

confirmed that in or around 2017 Company A began an audit that uncovered that a number of

checks—despite appearing as paid in the billing system—could not be reconciled in Company

A’s bank accounts, including the four checks mailed by Customer A discussed above. After

discovering this discrepancy, the CFO reached out to Customer A to inquire about these payments.


                                               4
         Case 1:19-mj-05193-JGD Document 6 Filed 06/18/19 Page 5 of 8



Customer A responded by providing the CFO with copies of the cancelled checks from Centennial

Bank, which showed that each of the four checks had been deposited at St. Mary’s Credit Union—

even though Company A did not maintain a bank account there—and those payments had been

drawn upon Customer A’s bank account at Centennial Bank.

                                PATEL’s Use of Stolen Funds

       15.       On February 23, 2012, PATEL opened PATEL 7941 at St. Mary’s Credit Union.

Shortly thereafter, beginning on or about March 5, 2012, PATEL starting depositing checks meant

for Company A into PATEL 7941.

       16.       Records from St. Mary’s Credit Union show that 99% of all money deposited

into PATEL 7941 (i.e., $3,076,369.88 out of $3,102,192.51) came from checks stolen from

Company A, as detailed below:

                      Source of Funds Deposited                   Amount
                            in PATEL 7941
              Company A Checks                               $3,076,369.88
              Other Deposits                                 $    9,422.63
              Transfers from other PATEL accounts            $ 16,400.00
              TOTAL                                          $3,102,192.51

       17.       To conceal the embezzled nature of these funds, PATEL proceeded to funnel

the proceeds of her scheme initially deposited into PATEL 7941 through additional accounts

opened at St. Mary’s Credit Union. These accounts included: (a) a joint checking account

ending in -6654 that PATEL shared with her husband (“PATEL 6654”); and (b) a joint

checking account ending in -6710 that PATEL shared with her minor son (“PATEL 6710”).

       18.       Between approximately March 2012 and July 2017, for example, PATEL

transferred $1,897,017.23 from PATEL 7941 (i.e., Sham Company A’s account) into PATEL

6654 (i.e., the joint account opened in the name of PATEL and her husband). PATEL and

her husband then spent money from PATEL 6654 on personal items, such as cars (i.e., on or

                                              5
          Case 1:19-mj-05193-JGD Document 6 Filed 06/18/19 Page 6 of 8



about July 1, 2015 a $2,000 to “Audi Fincl, Tel. Web Debit”), mortgages (i.e., on or about

July 1, 2015 a $1,500 to “Ocwen Loan Serv Online Pmt”), and credit cards bills (i.e., on or

about July 14, 2015 a $1,843.50 to “Discover E-payment”).

                          PATEL’s Purchase of Martha’s Vineyard
                               Property with Stolen Funds

       19.       In or about 2015, PATEL used $582,000 of the money she embezzled to

purchase a home in Martha’s Vineyard.

       20.       On or about June 1, 2015, PATEL transferred $462,542.37 from PATEL 7941

to make an initial deposit into PATEL 6710. Between on or about June 2, 2015 and July 20, 2015,

PATEL transferred an additional $56,000 from PATEL 7941 to PATEL 6710. The following

represents all transfers made into PATEL 6710 from PATEL 7941:

              Date       Description                               Amount
              06/01/2015 Transfer from PATEL 7941 to               $462,542.37
                         PATEL 6710
              06/02/2015 Transfer from PATEL 7941 to               $16,000.00
                         PATEL 6710
              06/15/2015 Transfer from PATEL 7941 to               $20,000.00
                         PATEL 6710
              07/20/2015 Transfer from PATEL 7941 to               $20,000.00
                         PATEL 6710
              TOTAL                                                $518,542.37

St. Mary’s Credit Union records show that 97% of all money deposited into PATEL 6710 (i.e.,

$518,542.37 out of $530,042.37) came from checks stolen from Company A that had previously

been deposited by PATEL into PATEL 7941. The remainder of the funds deposited into PATEL

6710 came from PATEL 6654 (i.e., one $11,500 deposit) or interest payments from St. Mary’s

Credit Union (i.e., $112.66).

       21.       On or about July 9, 2015, PATEL 6654 had a balance of approximately

$2,735.77. On the same day, PATEL wrote check #422 to “Martha’s Vineyard Island Wide


                                              6
          Case 1:19-mj-05193-JGD Document 6 Filed 06/18/19 Page 7 of 8



Realty” for $64,000 out of PATEL 6654. The check memo field referenced “P&S Deposit,

          ” On the following day, on or about July 10, 2015, PATEL transferred $68,000 from

PATEL 7941 to PATEL 6654 to cover this check.

        22.       On or about August 21, 2015, PATEL withdrew $518,000 from PATEL 6710

and purchased an official bank check for $518,000 from the St. Mary’s Credit Union. After this

withdrawal, with the exception of interest payments, no further activity has occurred in PATEL

6710.

        23.       On or about September 1, 2015, according to real estate records, PATEL and her

husband purchased                       in Vineyard Haven, Massachusetts for $640,000.

        24.       In or about 2017, PATEL moved to this home in Vineyard Haven,

Massachusetts. Initially, after the move, she continued to work for Company A remotely from

Martha’s Vineyard. On or about July 1, 2017, however, PATEL was terminated from Company

A for reasons unrelated to her theft.




                                                 7
          Case 1:19-mj-05193-JGD Document 6 Filed 06/18/19 Page 8 of 8



                                       CONCLUSION

       25.       Based on my knowledge, training and experience, and the facts set forth in this

affidavit, I respectfully submit that there is probable cause to believe that PATEL committed bank

fraud, in violation of Title 18, United States Code, Section 1344, by, on or about March 3, 2017,

fraudulently misrepresenting Sham Company A to be an appropriate payee of a $20,635.55 check

belonging to Company A.



                                                     Respectfully submitted,




                                                     Julie A. FitzPatrick
                                                     Special Agent
                                                     Internal Revenue Service Criminal
                                                     Investigation

Subscribed and sworn to before me
on June 18, 2019



The Honorable Judith G. Dein
United States Magistrate Judge




                                                8
